                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF ALABAMA

IN RE: GLENDA ROSS                                                      CASE NO: 15-31650-DHW
       2177 MONA LISA DR
       MONTGOMERY, AL 36111

        Soc. Sec. No. XXX-XX-0707
                       Debtor.
                                       AMENDED
                               INCOME WITHHOLDING ORDER

TO:    AVIS RENT A CAR
       C/O PURCO FLEET SVC
       136 S. MAIN ST
       SPANISH FORK, UT 84660

         The debtor subjected all of his income, including future earnings and wages to the
jurisdiction of this Court by filing a case under Chapter 13 of the United States Bankruptcy Code.
It is hereby

         ORDERED that AVIS RENT A CAR withhold from the wages, earnings, or other income
of this debtor the sum of $163.00 BI-WEEKLY and remit all such funds withheld to:

                                  CURTIS C REDING, CHAPTER 13 TRUSTEE
                                  15-31650-DHW GLENDA ROSS
                                  P O BOX 613108
                                  MEMPHIS TN 38101-3108

       The wages, earnings or other income withheld in compliance with this Order should be
remitted to the Trustee no less frequently than each month.

       This Order continues in force and effect until further Order of this court.

       Done Wednesday, October 21, 2015 .



cc: Debtor                                          / s / Dwight H. Williams Jr.
    Debtor's Attorney                               Dwight H. Williams Jr.
                                                    United States Bankruptcy Judge




Case 15-31650      Doc 36     Filed 10/21/15     Entered 10/21/15 20:31:58           Desc   Page 1
                                                of 1
